                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 15-cv-02539-MSK-STV

TERRI EDDY,
REBECCA ESQUIBEL,
DENITA HARTZOG,
GIOVANNA KEMP,
LISA MAES,
PEGGY MAJOR,
COURTNEY MICKELSON,
SADIE MONTANO,
PAULA PURDY,
DASHAWN WALKER,
SAMONE WALKER,
STACI WRIGHT,
THERESA DENBOW,
CESQUA RASMUSSEN, and
RHONDA CASADOS

       Plaintiffs,

v.

CITY AND COUNTY OF DENVER, DENVER SHERIFF DEPARTMENT,

       Defendant.


        DEFENDANT’S RESPONSE TO PLAINTIFFS’ MOTION TO EXCLUDE
          WITNESSES AND EXHIBITS AND FOR A PROTECTIVE ORDER


       Defendant, City and County of Denver, Denver Sheriff Department (“the City”), responds

to Plaintiffs’ Motion to Exclude Witnesses and Exhibits and for a Protective Order, as follows:

                                      INTRODUCTION

       The Court should deny Plaintiffs’ Motion to Exclude because it is based upon a false

premise that the witnesses and documents at issue were unknown to them. While the City concedes
it made several supplemental disclosures pursuant to Fed. R. Civ. P. 26(e) since April 2018, there

is substantial justification for the timing of the disclosures, and Plaintiffs already knew about and

had access to the vast majority of the witnesses and documents. Plaintiffs have suffered no harm.

       Plaintiffs are not entitled to a protective order preventing the City from using documents

disclosed in recent supplements in depositions of Plaintiffs’ experts, which are still ongoing.

Plaintiffs conceal the real reason they seek a protective order, i.e., to prevent their experts from

being impeached with an incomplete, summary document created by Plaintiffs’ counsel and relied

upon by their expert witnesses. Plaintiffs incorrectly assert that had the documents disclosed

recently been disclosed prior to the close of discovery, the course of discovery in this case would

have been drastically different, thus rendering the summary chart they provided their experts

accurate.

       Plaintiffs are also not entitled to strike the City’s recently disclosed witnesses. The

supplemental witness disclosures were done out of an abundance of caution, even though most of

the witnesses were listed by Plaintiffs in their pleadings and disclosures, and were discussed

extensively during Plaintiffs’ depositions. Plaintiffs’ assertion that these witnesses were unknown

to them prior to the City’s recent disclosures is disingenuous.

       Any alleged prejudice can be cured prior to trial. While Plaintiff seeks the most extreme

sanction available to the Court, striking the City’s trial exhibits and witnesses and awarding

sanctions, the appropriate remedy, if any, is that Plaintiffs be granted leave to take additional

depositions. The City has already informed Plaintiffs’ counsel it does not oppose Plaintiffs taking

additional depositions.




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                                   STANDARD OF REVIEW

       Federal Rule of Civil Procedure 26(e)(1)(A) states:

       A party who has made a disclosure under Rule 26(a) …. must supplement or correct
       its disclosure in a timely manner if the party learns that in some material respect
       the disclosure or response is incomplete or incorrect, and if the additional or
       corrective information has not otherwise been made known to the other parties
       during the discovery process or in writing. (Emphasis added.)

Rule 26 is governed by a “common sense” standard. Sender v. Mann, 225 F.R.D. 645, 655 (D.

Colo. 2004). Because Rule 26(e) does not define “in a timely manner,” that provision must be

applied in accordance with the particular facts and circumstances of each case. Poitra v. Sch. Dist.

No. 1 in the Cty. of Denver, 311 F.R.D. 659, 666 (D. Colo. 2015) citing United States v. Guidant

Corp., No. 3:03-0842, 2009 WL 3103836, at *4 (M.D. Tenn. Sept. 24, 2009).

       Federal Rule of Civil Procedure 37(c)(1) states:

       If a party fails to provide information or identify a witness as required by Rule 26(a)
       or (e), the party is not allowed to use that information or witness to supply evidence
       on a motion, at a hearing, or at trial, unless the failure was substantially justified or
       is harmless. (Emphasis added.)

       A discovery violation is excused if it is justified or harmless. See Woodworker’s Supply,

Inc. v. Principal Mut. Life Ins. Co., 170 F.3d 985, 993 (10th Cir. 1999). A party’s failure to

disclose is substantially justified where the party has a reasonable basis in law and fact, and where

there exists a genuine dispute concerning compliance. Nguyen v. IBP, Inc., 162 F.R.D. 675, 680

(D. Kan. July 27, 1995). Factors to be considered in determining whether a late disclosure is

harmless include: (1) the prejudice and surprise to the party against whom the testimony is offered;

(2) the ability of the party to cure the prejudice; (3) the extent to which introducing such testimony

would disrupt the trial; and (4) the non-moving party’s bad faith or willfulness. Jacobsen v.

Deseret Book Co., 287 F.3d 936, 953 (10th Cir. 2002). “Failure to comply with the mandate of

                                                  3
[Rule 26(a) and (e)] is harmless when there is no prejudice to the party entitled to disclosure.”

Portia, 311 F.R.D. at 669.

                                         BACKGROUND

I.     The Parties Disclosures.

       A.      The Parties’ Witness Disclosures Prior to The End of Discovery

       When this case was first filed, there were only two plaintiffs, Samone and Dashawn

Walker. Defendant served its Initial Disclosures, identifying eight (8) fact witnesses, and making

the following additional general witness disclosures:

               9.      Any person identified or disclosed by Plaintiff.

               10.     Any person identified or disclosed by any other Defendant.

               11.     Any person necessary for impeachment or rebuttal.

               12.     Any person necessary to lay foundation.

               13.     Any person whose identity is revealed during discovery.

See Exhibit A, Defendant’s Initial Disclosures.

       Plaintiffs took a slightly different approach, listing 57 fact witnesses in their initial

disclosures. See Exhibit B, Plaintiffs’ Initial Disclosures. Six months later, Plaintiffs served their

Second Initial Disclosures, disclosing 93 fact witnesses. See Exhibit C. All of the fact witnesses

have an almost identical designation. Id.

       B.      The City’s Document Disclosures Prior to the end of Discovery

       The City has produced almost 200,000 pages of documents in this case, 186,476 of which

were disclosed by the end of the discovery period.




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         The City produced documents in several large categories 1. These include, but are not

limited to:

         1.       OIC and CAB documents 2

                  •   Plaintiffs intend to use these to show they made complaints of being sexually

                      harassed by inmates and the City failed to take appropriate action.

                  •   Plaintiffs also intend to use these to show the City knew or should have known

                      of a general atmosphere of sexual harassment.

                  •   Plaintiffs’ experts rely on these documents to reach their conclusions.

                      Specifically, Plaintiffs’ counsel has prepared a spreadsheet (herein, “Summary

                      Spreadsheet”) which summarizes certain OIC reports and CAB documents,

                      selected by Plaintiffs’ counsel, which Plaintiffs’ experts cite in their reports and

                      depositions.

                  •   Early in the case, Plaintiffs requested documents in discovery reflecting alleged

                      sexual harassment by male inmates toward female deputies.                           The City

                      responded by stating that it was unable to search for documents as requested, as

                      they were not indexed in any manner that would allow them to be searched by

                      gender of inmate or deputy. However, in order to satisfy Plaintiffs’ request,

                      Defendant searched for all OICs that included sexual words such as “bitch,”




1
  This discussion is relevant because, as will be shown below, the City’s supplemental disclosures are almost entirely
supplements to these categories.
2
   OIC reports are generated by deputies to document complaints about inmate misbehavior or violations of inmate
conduct rules. When an inmate is disciplined, a CAB report is generated by supervisory staff to document the action
taken against the inmate because of the conduct alleged in the OIC report. Not every OIC report has a corresponding
CAB report.

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    “whore,” “harass,” etc. These documents have been referred to as the “word

    search documents.”

•   Plaintiffs asserted that the City’s document production was not complete, as the

    OIC reports were not full reports and CABs were not attached. Plaintiffs filed

    a motion to compel, and at the hearing on the motion, the City agreed to produce

    full OIC reports and CABs for any and all report numbers requested by

    Plaintiffs. The Court incorporated this agreement into its Order. See ECF No.

    78.

•   Based on the “word search” documents produced by the City, Plaintiffs then

    submitted nine “batch” reports, Excel Spreadsheets that contained lists of report

    numbers. In total, Plaintiffs requested over 750 OIC reports and CABs which

    comprised thousands of pages. Defendant produced all of the requested

    documents.

•   Later in the case, Plaintiffs made Defendant aware that all of the word search

    documents were generated from reports from the County Jail, and that the same

    search needed to be run for the Denver Detention Center (DDC). Plaintiffs’

    counsel made a written request for specific word searches to be run for reports

    written at the DDC, and that full OIC reports and CAB documents with those

    words be produced. The City agreed to run the search and produced the

    documents.

•   Defendant produced the OIC reports for all Plaintiffs without a discovery

    request.   Each Plaintiff had access to her own OIC reports, but for the


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        convenience of the parties and to assist the Plaintiffs who were no longer

        employees of the department, Defendant produced all of Plaintiffs’ reports.

2.   Leave records

        •   These documents show when Plaintiffs were off of work for FMLA leave

            or were on modified duty, resulting in them not having to work with

            inmates.

3.   Departmental Policies and Procedures

        •   These are policies and procedures relevant to the case such as sexual

            harassment policies, the inmate handbook, etc.

4.   RFMS Shift Documents

        •   These documents demonstrate where deputies worked their shifts. They

            were relied upon by Plaintiffs’ statistician expert who used them to reach

            his opinions about Plaintiffs’ alleged disparate treatment. These documents

            are cumbersome and difficult to understand, with approximately 50

            documents per day being used to delineate shift assignments. This system

            was replaced in 2016 by the Telestaff system (see below).

5.   Telestaff Documents

        •   In 2016, the Denver Sheriff Department moved to the Telestaff system,

            which tracks employees’ leave and shift records in a user-friendly format.

            These documents show both when a deputy worked and the deputy’s duty

            assignment. Deputies have access to their own Telestaff records.




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        C.       City’s Recent Supplemental Document Disclosures

          After the Court issued its Amended Order on Summary Judgment [ECF No. 113] on April

3, 2018, the City began supplementing its disclosures in preparation for the depositions of

Plaintiffs’ experts. The City also wanted to ensure that it supplemented the various categories of

documents that had already been produced in this case during 2015-2016 (all but two of the 15

Plaintiffs were deposed prior to February 2017). Thus, the City supplemented its disclosures for

the 2017-2018 period. The City’s disclosures were justified because the parties agreed to conduct

expert depositions after the ruling on dispositive motions issued, as reflected in the Amended

Scheduling Order [ECF 61, § 6.f.1], and because the City had a duty to supplement with documents

not already produced or which had not yet been created at the time of its original disclosures. 3

        Instead of reviewing the documents to gain an understanding of the limited universe of

documents listed in the supplemental disclosures, Plaintiffs have thrown up their hands, refused to

review the material, failed to update their Summary Spreadsheet, and instead, filed the instant

Motion seeking sanctions and the most extreme remedy available, excluding the material from

trial. Had Plaintiffs done their due diligence, they would have discovered that the City merely

updated categories of documents already produced and that the timing of the supplemental

disclosures is harmless.

        D.       Timeline of Pertinent Case-Related Dates and the City’s Supplemental Disclosures

        The following is a timeline of dates important to a determination of whether the City’s

supplemental disclosures are substantially justified or harmless.

        Nov. 18, 2015              Plaintiffs’ original Complaint filed. [ECF #1.]

3
 Had the City not supplemented its disclosures, it likely would have faced a similar motion for sanctions from
Plaintiffs for not having disclosed documents.

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Aug. 8, 2016    Amended Scheduling Order issued stating “[T]he parties agree to
                defer expert depositions until after summary judgment motions are
                adjudicated by the Court.” [ECF #61, p. 15.]

Aug. 12, 2016   Plaintiffs’ Second Amended Complaint filed. [ECF #65.]

Nov. 16, 2016   Plaintiffs filed a motion to compel seeking OIC and CAB records of
                incidents of sexual harassment. [ECF #69.]

Dec. 28, 2016   Hearing held on Plaintiffs’ motion to compel. Order issued stating
                “[D]efendants shall produce all information within the Sheriff
                Department’s TAG system related to those incident numbers
                provided by the Plaintiffs. This information would include all staff
                reports, all CAB proceedings, and to the extent any documents exist
                on this, whether the deputy assigned pursued the charge.” [ECF
                #78.]

Jan. 24, 2017   City disclosed documents responsive to Court’s order on Plaintiffs’
                motion to compel. [City’s Thirteenth and Fourteenth Supplemental
                Disclosures dated Jan. 24, 2017 and Jan. 27, 2017 respectively.]

Apr. 3, 2017    Plaintiffs’ experts disclosed, including reports, but excluding
                documents relied upon by experts.

May 2, 2017     Defense counsel requested materials relied upon by Plaintiffs’
                expert Susan Jones, Ph.D., as referenced in her expert report.

May 3, 2017     Plaintiffs produced 74-page spreadsheet summary of 781 OIC and
                CAB reports drafted by Plaintiffs’ counsel and provided to Dr. Jones
                by Plaintiffs’ counsel.

May 24, 2017    Order granting the motion to join Rhonda Casados as a plaintiff and
                extending the discovery cutoff to August 17, 2017. [ECF #87]

June 16, 2017   Last fact witness deposition taken (Plaintiff Casados).

July 31, 2017   City’s rebuttal expert witness disclosures.

Aug. 3, 2017    City’s partial motion for summary judgment filed. [ECF #93.]

Aug. 17, 2017   Discovery cutoff.



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       April 3, 2018          Order granting in part and denying in part the City’s partial motion
                              for summary judgment issues. [ECF #113.]

       May 3, 2018            Plaintiffs’ expert Dr. Jones deposed.

       May 7, 2018            Plaintiffs’ expert Robert Worley deposed.

       Undetermined           Defendant has made multiple requests to depose Plaintiffs’
                              remaining two experts (an economist and a statistician) but Plaintiffs
                              have refused to provide dates for the depositions.

       E.      The City Supplemented its Document Disclosures After the Discovery Cutoff with
               Documents Recently Created and Documents Identified in Preparation for
               Depositions of Plaintiffs’ Experts.

       The City supplemented its document disclosures after the discovery cutoff, in order to

disclose newly-created documents, to correct prior disclosures, and in preparation for the

upcoming expert depositions. Despite the fact that the City properly disclosed thousands of pages

to supplement its prior production, Plaintiffs now cherry-pick the documents which they would

like to prevent the City from using at trial. For example, with regard to recently-disclosed

department policies, Plaintiffs request exclusion of Exhibit 69 (a more recent version of the Open

Door Policy than they disclosed earlier in the case), Exhibit 70 (Modified and Limited Duty Policy)

and Exhibit 72 (all versions of the Cross-Gender Supervision policy in effect between 2012-2016,

including versions previously disclosed by both parties and versions not previously disclosed by

either party); however, Plaintiffs do not ask the Court to exclude Exhibit 63 (updated DSD Inmate

Handbook), Exhibit 64 (all versions of the policy related to Transfers and Reassignments within

the Department), Exhibit 66 (updated Equal Opportunity Safety Policy); and Exhibit 67 (updated

Inmate Discipline Policy). The Court should reject Plaintiffs’ attempt to arbitrarily exclude

documents Plaintiffs deem to be evidence helpful to the City.



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         The Court should deny Plaintiffs’ request to completely exclude the following documents
(as listed in the left-hand column of Plaintiffs’ Exhibit 4). 4

                                                      POLICIES

    Ex. 69     Denver Sheriff          Plaintiffs produced an earlier version of the Open Door Policy as
               Department              part of their Initial Disclosures. The City supplemented its
               Open Door               disclosures in order to provide the more recent 2017 version and
               Policy, DO              in preparation for Dr. Susan Jones’ deposition (one of her
               1.00.5005,              opinions relates to the open door policy). This revision of the
               revised April           policy was created after Dr. Jones issued her report. Moreover,
               21, 2017                the ten (10) Plaintiffs still employed by the City received notice
                                       that these new policies were in place and had access to them. All
                                       new policies and procedures are distributed to deputies through a
                                       document management system named “Power DMS,” which
                                       requires deputies to review all new policies and certify that they
                                       have done so. Therefore, at a minimum, Plaintiffs who still work
                                       for the Denver Sheriff Department have known about this revised
                                       policy and have had access to it since the date of its issuance, and
                                       they cannot be prejudiced from its recent disclosure.

    Ex. 70     Denver Sheriff          The City listed this exhibit in error and will withdraw it.
               Department
               Modified and
               Temporary
               Limited Duty
               Policy

    Ex. 72     Department              This exhibit includes all versions of the cross-gender supervision
               Order Nos.              policy for the period 2012-2016. Plaintiffs already produced
               2025.1D,                version 2025.1F in their Initial Disclosures on March 3, 2016
               2025.1E,                (26_000442-445), and the City disclosed version 2025.1G in its
               2025.1F,                Initial Disclosures on March 4, 2016 (DENVER 000054-57). The
               2025.1G and             additional versions were disclosed and included in the exhibit to
               2025.1H re              ensure completeness for the relevant period. As discussed above,
               Assignment of           Plaintiffs were aware of, and had access to, these policy revisions.
               Staff – Cross-
               Gender
               Supervision


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 In order to respond to Plaintiffs’ allegations that Defendant acted in bad faith by making all of its recent disclosures,
Defendant explains at Exhibit D why the disclosures were made, document by document, even though Plaintiffs only
specifically request the exclusion of the following documents.

                                                           11
                                TELESTAFF REPORTS

Exhibits   2016-2018        Telestaff reports are documents regarding when and where
152,       Telestaff        deputies, including Plaintiffs, were assigned to work. Telestaff
158,       reports for      was implemented at the Denver Sheriff’s Department in 2016.
183,       Plaintiffs S.    The City originally disclosed documents on November 16, 2016
198,       Walker,          for all Plaintiffs reflecting leave they took between 2012 and 2016
212,       Denbow,          using an older, pre-Telestaff, less user-friendly form of
263,       Esquibel,        documents (see Defendants’ Ninth Supplemental Disclosures,
282,       Hartzog, Maes,   DENVER 8755-9215). The City also produced Telestaff rosters
319 and    Wright,          for all employees in 2016 in its Sixteenth Supplemental
376        Montano,         Disclosures.
           Casados and D.   The 2016-2018 Telestaff reports recently produced were per
           Walker           plaintiff and should not be excluded for several reasons:
                               1. Telestaff documents for 2016 for all deputies were already
                                  produced. Thus, the recent supplemental disclosures of
                                  2016 Telestaff documents per plaintiff includes
                                  information already produced to Plaintiffs in a different
                                  format as part of the disclosure of all Telestaff records.

                               2. Plaintiffs have access to their own Telestaff records, and
                                  therefore they have not been prejudiced because they have
                                  the same access to the information.

                               3. Documents created after the end of the discovery period
                                  (after August 2017 through 2018) could not have been
                                  disclosed prior to the end of the discovery period.

                               4. Plaintiffs’ statistician expert witness, who Plaintiffs rely
                                  on for their disparate treatment claims, relied heavily on
                                  pre-Telestaff documents reflecting shifts worked by
                                  Plaintiffs and all employees. The Telestaff documents
                                  supplement those documents.

                               5. If Plaintiffs intend to claim damages for their disparate
                                  treatment claim for the period 2016-2018, then documents
                                  related to shifts they worked during that period are highly
                                  relevant and should not be excluded.




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                         REMAINDER/MISCELLANEOUS

124   Training           This document was produced prior to the end of the discovery
      PowerPoint         period as part of Defendant’s Twenty-First Supplemental
      Presentation:      Disclosures on June 16, 2017. (N.B.: Plaintiffs misstated the
      “Conflict          Bates number range of this document in Exhibit 4 to their Motion
      Management-        to Exclude as DENVER 185034-195052 (over 10,000 pages); in
      Revised 2007”      fact, the document is DENVER 185034-185052 (only 18 pages)).

120   Summary of         This exhibit is a summary of documents produced in two different
      documents          disclosures. On January 19, 2017, Plaintiffs’ counsel requested
      produced in 14th   that Defendant perform a search of OIC and CAB reports based
      Supplemental       on specific words. The City timely disclosed those documents in
      Disclosure at      its Fourteenth Supplemental Disclosure on January 27 2017.
      Category 297       Then, in its recent Twenty-Seventh Supplemental Disclosure,
      and 27th           without a request from counsel, Defendant supplemented the
      Supplemental       documents originally disclosed in 2017 with documents created
      Disclosure at      between January 27, 2017 and April of 2018. The summary
      389 related to     described in this exhibit is a summary of the properly disclosed
      DDC                documents, as the recent disclosure is simply an update to
                         documents already produced.


                         In preparation for Dr. Jones’ deposition last month, Defendant
141   Inmate
                         reviewed Plaintiffs’ 74-page Summary Spreadsheet of 781 OIC
      Desmond
                         and CAB reports drafted by Plaintiffs’ counsel. The City noted
      Jones’ OIC and
                         there were eight reports regarding inmate Desmond Jones. The
      CAB reports
                         City researched this inmate and learned there were another
                         thirteen incidents involving this inmate. The City supplemented
                         its disclosure of the prior eight reports already included in the
                         Summary Spreadsheet with the additional thirteen reports it
                         discovered in preparation for deposing Dr. Jones because Dr.
                         Jones relied so heavily on the Summary Spreadsheet. In so doing,
                         the City inadvertently disclosed documentation for three incidents
                         that had previously been disclosed (Incident Nos. 53807, 54976,
                         and 61235).
                         Similarly, the Summary Spreadsheet prepared by Plaintiffs’
142   Inmate Keith
                         counsel identified twelve incidents involving inmate Keith Hill.
      Hill’s OIC and
                         The City researched this inmate and learned there was another
      CAB reports
                         incident involving this inmate. Therefore, the City supplemented
                         its disclosure of the prior twelve (12) reports, already included in
                         the Summary Spreadsheet, with the additional report at DENVER
                         066103. The City also inadvertently disclosed an incident


                                         13
                                      involving inmate Hill that had already been disclosed, Incident
                                      No. 68521.
                                      This document was timely disclosed a year ago in Defendant’s
    341        For Information
               Only Report            Twenty-First Supplemental Disclosure dated June 16, 2017.
               No. 78528
                                      This document was timely disclosed well over a year ago in
    364        For Information
               Only Report            Defendant’s Thirteenth Supplemental Disclosure dated January
                                      24, 2017.
               No.


          The Court should also refuse Plaintiffs’ request to exclude portions of exhibits listed in the

right-hand column of Exhibit 4 of Plaintiffs’ Motion to Exclude. Essentially, Plaintiffs ask the

Court to exclude any OIC report created by any Plaintiff, or CAB document related to the OIC

report created by any Plaintiff, that was disclosed after the end of the discovery period. 5 This

request should be denied for several reasons. First, each individual Plaintiff’s OIC reports and

associated CABs were produced earlier in the case prior to their depositions being taken with one

exception – Plaintiff Paula Purdy. Defendant realized very recently that Plaintiff Purdy’s OIC

reports and CAB documents had not been produced with the other Plaintiffs’ reports and, therefore,

produced those in the recent disclosures to correct the error. Plaintiffs never contacted Defendant

to point out that error or to ask that Plaintiff Purdy’s OIC reports and CAB documents be produced

as all the other Plaintiffs’ documents had been produced. This is particularly significant because

Defendant produced each Plaintiffs’ OICs and CABs voluntarily and without a discovery request.

Moreover, each Plaintiff has access to her own OIC reports and could have obtained them sooner

if needed.




5
 The 30 exhibits listed in the right column of Plaintiffs’ Exhibit 4 are (1) selected OIC/CAB reports for each Plaintiff;
and (2) a summary of all OIC/CAB reports for each Plaintiff.

                                                          14
         The recent supplemental production of the Plaintiffs’ OIC reports and CAB documents

simply serves to supplement the production made in 2016 prior to each of the Plaintiff’s

depositions. Many of the incidents described in the reports do not relate to sexual misconduct by

inmates, yet in an abundance of caution, Defendant decided to go ahead and produce all recent

OICs and CABs to ensure that all documents created by Plaintiff had been disclosed.

                                                 ARGUMENT

       I.        The City’s Supplemental Document Disclosures are Substantially Justified
                 and Harmless.

        Many of the documents the City produced in its supplemental disclosures were created

after the discovery cutoff. The City cannot produce what does not exist. Plaintiffs do not challenge

the supplemental disclosures to the extent they include documents created after the close of

discovery. Motion, p. 5. There is no disagreement the City was substantially justified in the timing

of its supplemental disclosures related to those documents. 6 Thus, with regard to Plaintiffs’ OIC

and CAB documents, it appears that Plaintiffs only object to those created before the August 2017

discovery cutoff but which were produced after the cutoff. This is a very limited group of

documents, as the City produced all of Plaintiffs’ OICs and CABs (sans Plaintiff Purdy as

discussed above) up to the date on which they were produced in the litigation (some point in 2016

or 2017 before each Plaintiff’s deposition).

         Plaintiffs also misrepresent the universe of documents the City was ordered to produce in

response to Plaintiffs’ Motion to Compel. During the Motion to Compel hearing, Defendant agreed




6
  Further, it is unclear whether Plaintiffs are claiming a continuing hostile work environment and discrimination
during the years 2016-2018. To the extent they are not, a significant number of documents disclosed in the City’s
supplemental disclosures become irrelevant and the City will not need them for trial.

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to produce complete OIC reports and CAB documents for whatever documents Plaintiff requested.

While Plaintiffs allege the order compelled disclosure of all OIC and CAB reports, the Order

confirmed the City had to produce reports related to specific incidents as would be requested by

Plaintiffs. See ECF No. 78. After the Order issued, the Plaintiffs requested nine “batches” of

documents, totaling over 750 distinct reports and CABs, comprising thousands of pages of

documents. The City produced all these requested documents prior to the discovery cutoff.

       Indeed, despite asserting multiple times in their Motion that the City violated the order on

the motion to compel, at no time since that order issued did Plaintiffs request further disclosure,

or questioned the propriety of the City’s disclosures in response thereto. Plaintiffs could have

used their 74-page Summary Spreadsheet to identify possibly missing information, i.e., entries

showing an OIC report, but no corresponding CAB report, just as easily as the City did. See

Exhibit 7 to Plaintiffs’ Motion to Exclude, which demonstrates how additional documents may

have been referenced in the documents requested by Plaintiffs and produced by the City. The

Court did not order the City to produce documents referenced within the Batch documents, but

only the documents themselves. Plaintiffs could have and should have reviewed the documents to

see what additional documents were referenced and/or needed when they summarized them in the

Summary Spreadsheet for their expert witnesses. Instead, this exercise was undertaken by the City

in April 2018, in preparation for Plaintiffs’ experts’ depositions. At that time, the City discovered

the need to supplement its disclosures.

       The City’s recent supplemental disclosures are also harmless because Plaintiffs could have,

and indeed did, search and obtain OIC reports themselves, as evidenced by their own disclosure

of OIC reports. To the extent they claim prejudice due to alleged untimeliness of the City’s


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supplemental disclosures, Plaintiffs could have likewise done their due diligence to identify a

significant portion of the supplemented documents.

       Plaintiffs’ claim of late disclosure is also disingenuous because they made their own

supplemental disclosure after the close of discovery. (See Exhibit E, Plaintiffs’ Fifth Supplemental

Disclosure dated October 19, 2017). Moreover, Plaintiffs take issue with the City’s compilation

exhibit of OIC/CAB reports to the extent it contains documents from the City’s Supplemental

Disclosures even though Plaintiffs give the very same description for their Exhibit 3 in the joint

exhibit list attached to the Proposed Final Pretrial Order.

       Plaintiffs produced the Summary Spreadsheet of OIC/CAB reports as a document their

lawyers created and which was relied upon by two of their experts. The chart was produced after

all but one of the fact witnesses had been deposed and, therefore, was not relevant during fact

discovery. The timing of the City’s supplemental disclosures relating to the chart were justified

because expert depositions were delayed until well after the close of discovery. Plaintiffs were

not harmed or prejudiced by the timing of the disclosures, as shown by the explanation of the

documents above and in Exhibit D. Both sides will rely on OIC and CAB reports at trial. If

Plaintiffs want to recover damages for 2016, 2017 and 2018, then both sides should be allowed to

use OIC reports and Telestaff documents that relate to, and were created during, those years. The

City did its diligence in preparation for Plaintiffs’ expert depositions. The City should not be

penalized for its reasonable and appropriate actions.

            II.        The Court Should Deny Plaintiffs’ Request for a Protective Order.

       Plaintiffs’ expert, Dr. Jones, testified in her deposition just last month that she relied

substantially on the Summary Spreadsheet.         However, she did not know who created the


                                                 17
spreadsheet, how it was created, why certain documents were included, whether there were

inaccuracies in the spreadsheet, etc. During the deposition, Defendant used OIC and CAB reports

to impeach her expert opinions by showing the Summary Spreadsheet was incomplete and

incorrect. 7 Plaintiffs now seek a protective order to prohibit the City from using any document it

disclosed after January 1, 2018, in subsequent expert depositions. 8 Plaintiffs conceal the real

reason they seek a protective order, which is to prevent their experts from being impeached with

documents demonstrating the Summary Spreadsheet is wholly unreliable. Nonetheless, two of the

Plaintiffs’ experts’ depositions have already been taken, and therefore the issue of a protective

order as to those two experts – Drs. Jones and Worley – is now moot.

         Despite numerous requests from undersigned defense counsel to provide dates for the

depositions of Plaintiffs’ remaining two experts, Plaintiffs have not responded other than to state

those experts have requested the depositions be taken at their office. Plaintiffs have failed to state

how any of the recently supplemented documents would prejudice them in deposing their experts.

If the two remaining experts (one who will opine on damages and one who will opine on statistics

and Plaintiffs’ disparate treatment claim) have not reviewed any documents included in the

supplemental disclosures, then they can just say so in their depositions. Moreover, rather than

waiting for the Court to rule on a motion, Plaintiffs could and should provide any documents they

deem relevant to their experts. However, in light of the fact that Defendant has not disclosed any

documents relevant to Plaintiffs’ calculation of damages, Plaintiffs request for a protective order



7
  This issue will be addressed further in the City’s Rule 702 Motion challenging Plaintiffs’ experts.
8
  Plaintiffs misrepresent to the Court that the City has requested to take depositions of Plaintiffs’ experts “out of time.”
The parties relied upon Section § 6.f.1 [ECF No. 61] of the Scheduling Order that allowed for expert discovery to
occur after the dispositive motion was decided. Both sides took expert depositions after the Rule 56 order issued.
Plaintiffs deposed the City’s expert, Dr. Laura Bedard, on May 21, 2018.

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is disingenuous. 9 Similarly, Plaintiffs have not described how any of the recently-disclosed

documents could or would affect their statistical expert’s analysis. 10

         Plaintiffs have simply refused to undertake the task of updating the data they provided their

experts. They failed to compare the data they provided their experts with the City’s disclosures in

this case. A protective order is inappropriate and unnecessary.

             III.          The City’s Supplemental Witness Disclosures are Substantially
                           Justified and Harmless.

         The witnesses disclosed by the City in its supplemental disclosures after the discovery

cutoff were known to Plaintiffs as persons with information related to the case. The vast majority

of the witnesses were people who were disclosed by Plaintiffs early in the case, deposed already

by Plaintiffs, discussed by Plaintiffs in their depositions, and/or referenced in documents in the

case.

         By its plain terms, Rule 26 does not require supplemental disclosures in all circumstances,

but rather only when “the additional or corrective information has not otherwise been made known

to the other parties during the discovery process or in writing.” Fed. R. Civ. P. 26(e)(1)(A); see

also U.S. Aviation Underwriters, Inc. v. Pilatus Bus. Aircraft, LTD, 582 F.3d 1131, 1145 (10th

Cir. 2009); Sender, 225 F.R.D. at 656 (“a failure to disclose witness information is harmless if the




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  This is especially true given that Plaintiffs have not themselves supplemented their damage expert’s report to
reflect damages for 2017 or 2018 or revised damages for Plaintiff Courtney Mickelson, who left DSD but found
employment with the Adams County Police Department in 2017. At a minimum, her future wage damages are
affected, yet Plaintiffs have failed to supplement their discovery responses with information related to Ms.
Mickelson or supplement their damage expert’s report.
10
   Each of Defendant’s supplemental disclosures describes the documents disclosed by group/category (e.g. “OIC
reports for Plaintiff Denbow” or “Telestaff Documents for Plaintiff Casados”). Therefore there is no surprise as to
what supplemental documents were produced and Plaintiffs do not have to wade through the documents to
determine the nature thereof.

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other party was well aware of the identity of the undisclosed witness and the scope of their relevant

knowledge well before trial” (quoting 6-26 Moore’s Federal Practice – Civil § 26.27)).

       A principal theory in Plaintiffs’ case is that supervisors did not respond appropriately to

Plaintiffs’ complaints of inmate sexual harassment and, had supervisors responded with

appropriate disciplinary measures, Plaintiffs would not have been sexually harassed by male

inmates. A significant portion of each Plaintiff’s deposition was devoted to discussing particular

incidents wherein Plaintiffs felt their complaints went unaddressed by DSD management.

Plaintiffs identified supervisors to whom they complained and discussed the action or alleged

inaction taken by the supervisor. Plaintiffs testified certain supervisors made discriminatory post

assignments. Plaintiffs also testified that certain supervisors told them not to write reports. The

City has compiled the disclosures, documents and deposition references where these witnesses

were disclosed, and included them in a chart attached as Exhibit F.

       The Advisory Committee notes explicitly recognize that the “otherwise made known”

exception can apply “when a witness not previously disclosed is identified during the taking of a

deposition.” Fed. R. Civ. P. 26(e) Advisory Committee Notes to the 1993 Amendments; see also

Llewellyn v. Allstate Home Loans, Inc., 795 F. Supp. 23 1210, 1220 (D. Colo. 2011) (defendants

could not claim prejudice by declaration of undisclosed witness attached to summary judgment

response, where defendants learned during plaintiff’s deposition that witness had discoverable

information and they did not depose the witness). Many of the supervisors listed in the City’s

supplemental disclosures were not only known to Plaintiffs as far back as the time when the alleged

discriminatory conduct occurred, but they were specifically discussed during Plaintiffs’

depositions. Ex. F. This is not a passing or oblique reference to an individual during a deposition.


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Cf. Poitra v. Sch. Dist. No. 1, No. 14-cv-00887-WYD-CBS, 311 F.R.D. 659, 667 (D. Colo. Dec.

21, 2015). Instead, the substance of the discussion at the Plaintiffs’ depositions functionally

identified the witnesses. Llewellyn, 795 F. Supp. 2d at 1220.

       There is no prejudice or surprise because Plaintiffs themselves identified many of the same

witnesses in their own disclosures (see Ex. F), and, therefore, had information about the

relationship of these individuals to the events at hand.

        [W]hen a fact witness is disclosed, all parties are on notice that the disclosing side
       contends the witness has relevant knowledge. All are thus on notice that the
       disclosing side may well have interest in the witness and may have even obtained
       a statement. That would be normal practice. Disclosing that fact would only
       disclose what should be presumed by prudent counsel. All parties are free to
       contact the fact witness and obtain their own statements.

Intel Corp. v. VIA Techs., Inc., 204 F.R.D. 450, 452 (N.D. Cal. 2001) (emphasis added). In EEOC

v. Outback Steak House, the court found the plaintiff’s disclosures sufficient where defendants

“had in their possession significant information about each of the witnesses ….” No. 06-cv-01935-

EWN-KLM, 2008 WL 3992172, at *14 (D. Colo. Aug. 20, 2008).

       Finally, the identity of these witnesses was disclosed in the many OIC and CAB reports

produced prior to the discovery cutoff, demonstrating the involvement of these same witnesses in

the incidents forming the basis for Plaintiffs’ claims. Ex. F.

       For these reasons, it is disingenuous for Plaintiffs to feign ignorance of the existence of the

witnesses listed in the supplemental disclosures and the knowledge they possess. As shown in Ex.

F and described herein, Plaintiffs knew of these witnesses and the information they possessed.

Moreover, Plaintiffs knew that certain witnesses had knowledge of relevant facts without being

disclosed by Defendant. For example, Plaintiffs requested and took the depositions of several



                                                 21
supervisors and other witnesses who Defendant did not disclose (e.g. former Sgt. Mills, Sgt.

Bowen, Sgt. Lombardi, Sgt. Juranek, Sgt. Penson and Sgt. Denovollis). 11

         Plaintiffs chose not to conduct discovery as to the witnesses discussed at length during their

depositions and in documents, which makes their challenge to the witnesses’ inclusion in the

Pretrial Order even more outrageous. They simply have not been prejudiced by the City’s witness

disclosures. See Adams v. Cline Agency, Inc., No. 10-cv-02758-WJM-KLM, 2013 WL 2444696,

at *3 (D. Colo. June 5, 2013) (suggesting that any prejudice claimed by defendants as a result of

plaintiffs’ untimely disclosure was mitigated when defendants declined to seek discovery of such

evidence despite sufficient knowledge that it existed; the court found that “[d]efendants bear some

responsibility for their asserted lack of ‘adequate opportunity to prepare a defense for any such

undisclosed evidence.’”). The City’s supplemental witness disclosures are substantially justified.

              IV.          Plaintiffs’ Request for Sanctions is an Unjustified Remedy.

         In the event the Court deems the City’s disclosures prejudicial to Plaintiffs, the commonly

favored remedy under similar circumstances is to reopen discovery for depositions. See Johnson

v. Sch. Dist. No. 1 County of Denver, No. 12-cv-02950-MSK-MEH, 2014 WL 983521, at *5 (D.

Colo., March 13, 2014); ClearOne Commc’ns, Inc. v. Biamp Sys., 653 F.3d 1163, 1177 (10th Cir.

2011); Bush v. FedEx Freight, Inc., No. 12-cv-00230-WYD-KLM, 2013 WL 4496391 (D. Colo.

Aug. 22, 2013); Watershed LLC v. Columbus Life Ins. Co., No. 09-cv-01496-MSK-MEH, 2011

WL 3359556 at *2 (D. Colo. Aug. 3, 2011); Four Corners Nephrology Assoc. v. Mercy Med. Ctr.




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  Moreover, Defendant should not be penalized for using a more global disclosure such as “Any person identified or
disclosed by Plaintiff” and “Any person whose identity is revealed during discovery,” (see Plaintiff’s Ex. 1) as opposed
to Plaintiffs’ shotgun approach of designating 57 witnesses in their initial disclosures and 97 witnesses in their second
initial disclosures.

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of Durango, No. 05-cv-02084-PSF-CBS, 2007 WL 1613352, at *2 (D. Colo. June 1, 2007).

Defendant has made repeated offers to allow Plaintiffs to depose recently-disclosed witnesses who

were not already disclosed by Plaintiff.

        Pursuant to the Amended Scheduling Order, Plaintiffs were allowed twenty (20)

depositions, of which they took only eight (8). Plaintiffs’ counsel previously indicated during the

discovery period that he intended to interview front line supervisors (sergeants), without the City’s

attorneys present, because he did not believe that the sergeants were ranked highly enough to

require the City’s presence at the deposition. See Ex. G. Plaintiffs’ counsel must have moved

forward with that plan, as he disclosed Sgt. Megan Middleton in Plaintiffs Fifth Supplemental

Disclosures after the end of the discovery period. Ex. E.

        These sergeants are many of the very same people included in the City’s supplemental

disclosures. Plaintiffs will not be prejudiced in time because a final Pretrial Order has not entered

and there is no trial date. Moreover, trial will likely not take place until the late fall at the earliest

in light of the amount of time needed for trial, the Court’s schedule, and the fact that the City plans

on filing a Rule 702 motion with regard to Plaintiffs’ experts. The briefing and hearing on this

motion will take two-three months. Thus, there is time for Plaintiffs to take additional depositions

if they truly believe they are needed. In addition, Plaintiffs will not be prejudiced in expense

because they have taken only eight depositions in a fifteen-Plaintiff case, thus the expense of

additional depositions is reasonable and should have been anticipated. Because this is not a class

action case, the Plaintiffs have to prove their claims as to each of the 15 Plaintiffs, which will

require much more evidence – including witnesses – than a class action would require, as each

Plaintiff must prove each element of each of their claims, and many of these Plaintiffs are very


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differently situated from each other. Finally, Plaintiffs will not be prejudiced in effort because

Plaintiffs’ counsel previously already indicated an intent to interview many of the witnesses

included in the supplemental disclosures.

       Plaintiffs should not be rewarded for failing to diligently pursue the discovery they now

believe they need on the eve of the Pretrial Conference by asking the Court to strike the City’s

witnesses for trial. See Vanderhurst v. Colo. Mt. Coll. Dist., 16 F. Supp. 2d 1297, 1303 (D. Colo.

1998) (motions to strike are generally disfavored); Summers v. Mo. Pac. R.R. Sys., 132 F.3d 599,

604 (10th Cir. 1997) (“The decision to exclude evidence is a drastic sanction.”). The Court should

not rescue Plaintiffs from their chosen litigation strategy. Plaintiffs had ample opportunity to

contact witnesses known to them at the beginning of the case, or who they learned about during

depositions and document production, or to propound written discovery seeking additional

information about them. See Outback, 2008 WL 3992172, at *17 (“Defendants had, but failed to

exercise, the opportunity to ask for more specific information that could help them pick the

witnesses to depose.”).

       Many of the witnesses listed in the City’s Supplemental Disclosures were already disclosed

by Plaintiffs in their disclosures, and two of them became relevant witnesses only at the end of

2017 and in 2018. See Ex. F. Moreover, many of the witnesses listed in the City’s supplemental

disclosures may be used for impeachment purposes. The witnesses are expected to testify in

response to Plaintiffs’ claims that they complained to supervisors and no action was taken. By its

plain terms, Rule 26 does not require disclosure of individuals or documents “used solely for

impeachment ….” Fed. R. Civ. P. 26(a)(1)(A)(i)-(ii). The City’s inclusion of these witnesses in

supplemental disclosures and in the Pretrial Order witness list, while arguably unnecessary, was


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to provide the Court with an explanation of the proposed length of trial. Because most of the

witnesses identified by the City since the discovery cutoff are impeachment witnesses, their

disclosure was unnecessary and was certainly not a violation of Rule 26.

       Finally, Plaintiffs’ request for an award of sanctions should be denied. Plaintiffs have not

offered any evidence supporting their theory that the City’s supplemental disclosures were a

product of bad faith or willfulness. The City’s disclosures did not cause disruption to the summary

judgment briefing, the Pretrial Order has not been finalized, and trial has not been set. Absence

evidence of bad faith, barring the City from using the documents and witnesses at trial would be

extremely prejudicial. The City did not act willfully or deceitfully in its supplement of its

disclosure documents or witnesses. The Plaintiffs now want to take depositions that they should

have taken months ago.

                                        CONCLUSION

       For the reasons stated herein, Defendant respectfully requests that the Court deny the relief

requested in Plaintiffs’ Motion to Exclude.

       Respectfully submitted on June 7, 2018.



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                               CERTIFICATE OF SERVICE
        I hereby certify that on June 7, 2018, I electronically filed the foregoing DEFENDANT’S
RESPONSE TO PLAINTIFFS’ MOTION TO EXCLUDE WITNESSES AND EXHIBITS
AND FOR A PROTECTIVE ORDER with the Clerk of Court using the CM/ECF system which
will send notification of such filing to the following e-mail addresses:
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